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                                   8                                   UNITED STATES DISTRICT COURT

                                   9                                  NORTHERN DISTRICT OF CALIFORNIA

                                  10                                           San Francisco Division

                                  11     MARC COHODES,                                       Case No. 20-cv-04015-LB
                                  12                     Plaintiff,
Northern District of California




                                                                                             JUDGMENT
 United States District Court




                                  13              v.

                                  14     UNITED STATES DEPARTMENT OF
                                         JUSTICE, et al.,
                                  15
                                                         Defendants.
                                  16

                                  17       On January 24, 2025, the court awarded fees of $180,808.50. (Orders – ECF Nos. 124, 134.)

                                  18   On March 24, 2025, the court awarded fees for the fees motion of $73,948.95. (Order – ECF No.

                                  19   135.) The total fee award is $254,757.45. Pursuant to Federal Rule of Civil Procedure 58, the court

                                  20   hereby enters judgment in favor of the plaintiff and against the defendant. The court directs the

                                  21   Clerk of Court to close the file in this matter.

                                  22       IT IS SO ORDERED.

                                  23       Dated: March 24, 2025

                                  24                                                      ______________________________________
                                                                                          LAUREL BEELER
                                  25                                                      United States Magistrate Judge
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                                       JUDGMENT – No. 20-cv-04015-LB
